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UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

  John Doe.
                                                         Case No. 2:21-cv-20706
                 Plaintiff,

         v.

 Baila Sebrow

                 Defendant


       THIS MATTTER having been brought before the court on the motion of the plaintiff,

and upon notice to the defendant, and the court having reviewed the Declaration submitted, and

for good cause being shown,

       IT IS on this 21st              day of June            , 2022, ordered that the prior

dismissal order be and is hereby vacated and the case is restored to the active case list.



                                                      _______________________________
                                                      Hon. Susan D. Wigenton
                                                              U.S.D.J.




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